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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 FELICIA D. TENNESSEE,

                Plaintiff,

 v.                                                                    Civil Action No.: 2:10cv167

 MURPHY-BROWN, L.L.C.,

                Defendant.


                DEFENDANT’S MEMORANDUM IN SUPPORT OF
       MOTION IN LIMINE TO PREVENT ANY REFERENCE TO DEFENDANT’S
                 AFFILIATION WITH SMITHFIELD FOODS, INC.

        Defendant is a wholly owned subsidiary of Smithfield Foods, Inc.; however, Defendant

 files this Motion in Limine to ask the Court to prevent Plaintiff from referencing this affiliation.

        Rule 402 of the Federal Rules of Evidence expressly excludes evidence that is not

 relevant. Fed. R. Evid. 402. In order for evidence to be relevant it must have a “tendency to

 make the existence of any fact that is of consequence to the determination of the action more or

 less probable than it would be without the evidence.” Fed. R. Evid. 401.

        Any reference to Smithfield Foods, Inc. is wholly irrelevant to Plaintiff’s claims of

 harassment and retaliation. Plaintiff has made no allegations that could possibly trigger the need

 for an “alter ego” analysis. Further, Defendant is sufficiently large, in and of itself, to be covered

 by the $300,000 damages cap of 42 U.S.C. § 1981a. Uniting Defendant with Smithfield Foods,

 Inc. does not affect the applicable damage limitations.

        Even if Defendant’s affiliation with Smithfield Foods, Inc. was relevant – which it is not

 – Rule 403 of the Federal Rules of Evidence provides that relevant evidence “may be excluded if

 its probative value is substantially outweighed by the danger of unfair prejudice, confusion of the



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 issues, or misleading the jury, or by considerations of undue delay, waste of time, or needless

 presentation of cumulative evidence.” Fed. R. Evid. 403.

        Here, evidence of Defendant’s affiliation with Smithfield Foods, Inc. has absolutely no

 probative value to Plaintiff’s claims. A larger entity is no more or less prone to violate Title VII

 than a smaller entity and, as mentioned above, there has been no allegation asserted that would

 trigger the need for an alter ego analysis. On the flip side, the introduction of this evidence

 would raise substantial risks of jury confusion and unfair prejudice. For example, such evidence

 would suggest to jurors that Defendant is a larger entity with deeper pockets that it actually has.

        With no probative value and substantial risk for confusion and prejudice, this Court

 should prevent Plaintiff from introducing evidence of Defendant’s affiliation with Smithfield

 Foods, Inc.

                                          CONCLUSION

        For the reasons set forth above, Defendant asks this Court to grant its motion in limine

 and prevent Plaintiff from referencing Defendant’s affiliation with Smithfield Foods, Inc.



                                                       MURPHY-BROWN, LLC

                                                                      /s/
                                                       John M. Bredehoft (VSB No. 33602)
                                                       Mark E. Warmbier (VSB No. 77993)
                                                       KAUFMAN & CANOLES, P.C.
                                                       150 West Main Street, Suite 2100
                                                       Norfolk, VA 23510
                                                       Telephone: (757) 624-3000
                                                       Facsimile: (757) 624-3169
                                                       jmbredehoft@kaufcan.com
                                                       mewarmbier@kaufcan.com
                                                       Attorneys for Defendant

                                                       Frank A. Edgar Jr. (VSB No. 36833)
                                                       KAUFMAN & CANOLES, P.C.



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                                          11815 Fountain Way, Suite 400
                                          Newport News, VA 23606
                                          Telephone: (757) 873-6300
                                          Facsimile: (757) 873-6359
                                          faedgarjr@kaufcan.com
                                          Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 5th day of October 2011, a true copy of the foregoing

 document was electronically filed with the Clerk of Court using the CM/ECF system, which will

 then send a notification of such filing (NEF) to the following:

                                     Henry L. Marsh, III, Esq.
                                     Hill, Tucker & Marsh
                                     422 East Franklin Street, Suite 301
                                     Richmond, Virginia 23219
                                     804-648-9074
                                     htm@htm-law.com
                                     Attorneys for Plaintiff

                                     Henry E. Howell, III, Esq.
                                     The Eminent Domain Litigation Group, P.L.C.
                                     One East Plume Street
                                     Norfolk, Virginia 23510
                                     757-446-9999
                                     heh@eminentdomaingroup.us
                                     Attorneys for Plaintiff

                                                                     /s/
                                                      Mark E. Warmbier (VSB No. 77993)
                                                      KAUFMAN & CANOLES, P.C.
                                                      150 West Main Street, Suite 2100
                                                      Norfolk, VA 23510
                                                      Telephone: (757) 624-3000
                                                      Facsimile: (757) 624-3169
                                                      mewarmbier@kaufcan.com
                                                      Attorneys for Defendant
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